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                      Exhibit B
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ERO Custody Management Division
Population Counts from March 1, 2022 through March 31, 2022
Source: ICE Integrated Decision Support (IIDS), 04/04/2022
IIDS is a data warehouse that contains dynamic data extracts from the Enforcement Integrated Database (EID).
FY2022 data: IIDS as of 04/04/2022; EID data through 04/03/2022
Average Daily Population is calculated by the total daily population divided by the number of days in the month
Total Daily Population includes single adults and individuals in family units


Until March 15, 2022, ERO was appropriated sufficient funding for approximately 34,000 detention beds nationwide, to support its mission
to enforce immigration law. ICE’s access to its full inventory of bedspace is severely limited due to various court orders limiting the intake
of noncitizen detainees, an increase in detention facility contract terminations, detention facility contract modifications, and the ongoing
COVID-19 pandemic. Specifically, ICE’s Pandemic Response Requirements (PRR) for its detention facilities, which are informed by the
Centers for Disease Control and Prevention’s COVID-19 guidelines, require that facilities undertake efforts to reduce populations to
approximately 75% capacity. Last year, the U.S. District Court for the Central District of California issued a nationwide preliminary
injunction recognizing the 75% capacity limit, and ordering ICE to maintain additional strict standards to reduce the risk of COVID-19
infection. See Fraihat v. ICE, 445 F.Supp.3d 709 (C.D. Cal. Apr. 20, 2020). In light of these mandates, ICE’s available bedspace inventory
was only approximately 28,933 beds. As of March 15, 2022. the funding for adult detention beds decreased to 31,500. Of those, based on
the factors listed above, the available bedspace inventory is approximately 25,780 beds.


                                  Month                                                   March
                   Monthly Average Daily Population (ADP)                                     20,045

                Date Daily Population
            3/1/2022                 18,515
            3/2/2022                 18,477
            3/3/2022                 18,607
            3/4/2022                 17,988
            3/5/2022                 18,031
            3/6/2022                 18,606
            3/7/2022                 19,188
            3/8/2022                 19,727
            3/9/2022                 19,822
           3/10/2022                 20,175
           3/11/2022                 20,082
           3/12/2022                 20,293
           3/13/2022                 20,455
           3/14/2022                 20,743
           3/15/2022                 20,796
           3/16/2022                 20,466
           3/17/2022                 20,338
           3/18/2022                 20,114
           3/19/2022                 20,181
           3/20/2022                 20,602
           3/21/2022                 21,287
           3/22/2022                 21,106
           3/23/2022                 20,995
           3/24/2022                 20,724
           3/25/2022                 20,679
           3/26/2022                 20,864
           3/27/2022                 21,044
           3/28/2022                 21,069
           3/29/2022                 20,464
           3/30/2022                 20,294
           3/31/2022                 19,671


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ERO LESA Statistical Tracking Unit
For Official Use Only (FOUO)/Pre-decisional
Texas v Biden (MPP) - Reporting Requirement - 04/08/2022

FY2022 March ICE Removals of
Expedited Removals
        Case AOR     06-Mar
Atlanta                     82
Baltimore                    1
Boston                       7
Buffalo                      7
Chicago                     15
Dallas                      27
Denver                      23
Detroit                      5
El Paso                     70
HQ                           3
Harlingen                960
Houston                     91
Los Angeles                  8
Miami                       28
New Orleans                 50
New York City                1
Newark                      23
Philadelphia                12
Phoenix                  118
Salt Lake City               1
San Antonio                 66
San Diego                   59
San Francisco             -
Seattle                     14
St. Paul                     7
Washington                   7
Total                  1,685




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ERO-LESA Statistical Tracking Unit
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Texas v Biden (MPP) - Reporting Requirement - 04/08/2022

ICE Initial Book Ins in FY2022 March with Arresting 06-Mar
                   Agency of CBP                      25,812


ICE Initial Book Ins in FY2022 March with Arresting
 Agency of CBP with a previously occurring USBP 06-Mar
    Apprehension or CBP OFO Encounter at the
                  Southwest Border                  24,006
               04/03/2022 ICE Currently Detained       9,080
                   FY2022 ICE Final Release           14,345
                               Bonded out                919
FY2022 YTD               Order of Recognizance        10,767
                           Order of supervision          200
                                Paroled                2,459
                     FY2022 ICE Removal                  345




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ERO-LESA Statistical Tracking Unit
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Footnotes
FY2022 ICE Initial Book Ins data are updated through 04/03/2022 (IIDS run date 04/04/2022; EID as of 04/03/2022).
ICE Currently Detained National Docket data are a snapshot as of 04/03/2022 (IIDS run date 04/04/2022; EID as of 04/03/2022).
FY2022 ICE Final Releases data are updated through 04/03/2022 (IIDS run date 04/04/2022; EID as of 04/03/2022).
FY2022 ICE Removals data are updated through 04/03/2022 (IIDS run date 04/04/2022; EID as of 04/03/2022).
Current fiscal year data, FY2022, will reflect updated values until the FY2022 data lock in Oct 2022.

USBP Apprehensions FY14 - FY22 YTD uploaded to IIDS on 04/04/2022, with FY22 apps through 04/04/2022.
Office of Field Operations (OFO) Southwest Border Operations (SBO) Enforcement Encounters Report with Subject-level details
for FY22TD through 04/02/2022.


For the purpose of this report, only the most recent status for an individual who had an ICE Initial Book Ins per fiscal year with
Arresting Agency of CBP with a previously occurring USBP Apprehension or CBP OFO Encounter at the Southwest Border is
included in the summary count. I.e., Individual with multiple initial book-ins within the fiscal year pertinent to this litigation should
have the same reported status and not be included in multiple status summary counts.

The person record for 236 ICE Initial Book Ins in FY2022 March pertinent to this litigation could not be matched to an ICE Current
Detention (snapshot as of 04/03/2022), FY2022 YTD ICE Final Release or FY2022 YTD ICE Removal occurring after the ICE
Initial Book In date.


ICE Initial Book Ins are matched to USBP Apprehensions and/or OFO Encounters based on subject-level details (Civilian record)
where the USBP Apprehension and/or OFO Encounter occur prior to the ICE Initial Book In date. STU cannot confirm that the ICE
Initial Book In is directly related to the matched USBP Apprehension and/or OFO Encounter.



ICE Initial Book Ins
ICE Detention data exclude ORR transfers/facilities, as well as U.S. Marshals Service Prisoners.
All stats are pulled based on Current Program which attributes all cases back to the Program of the processing officer of the event.
However, if Current Program = OPL, XXX, ZZZ, or null, then Event Program is used.
The "CBP" Arresting Agency includes the following programs: Border Patrol, Inspections, Inspections-Air, Inspections-Land, and
Inspections-Sea.
Individuals may have more than one ICE Initial Book Ins relevant to this litigation. All have been included.
Individuals may have more than one USBP Apprehensions and/or OFO Encounters relevant to this ligation. The latest occurring
Apprehension or Encounter is included.


ICE Detained National Docket
ICE Detention data exclude ORR transfers/facilities, as well as U.S. Marshals Service Prisoners.
ICE Initial Book Ins are matched to ICE Current Detention record based on person-level details (Person record) where the ICE
Initial Book In occur prior to the ICE Current Detention date. The ICE Initial Book In may not be directly related to the matched
ICE Current Detention.


ICE Final Releases
An ICE Final Release is defined as a Final Bookout that reflects one of the following release reasons: Bonded Out, Order of
Recognizance, Order of Supervision, Paroled, or Prosecutorial Discretion. All Case Statuses are included.



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ICE Detention data exclude ORR transfers/facilities and U.S. Marshals Service Prisoners.
An alien may have multiple releases; only the most recent release is included in this report.
ICE Initial Book Ins are matched to ICE Final Release record based on person-level details (Person record) where the ICE Initial
Book In occur prior to the ICE Final Release date. The ICE Initial Book In may not be directly related to the matched ICE Final
Release.
ICE does not track the number of applicants paroled or released into the United States based on DHS' s lack of detention capacity.

ICE Removals
ICE Removals include Returns. Returns include Voluntary Returns, Voluntary Departures and Withdrawals Under Docket Control.
ICE Removals include aliens processed for Expedited Removal (ER) or Voluntary Return (VR) that are turned over to ERO for
detention. Aliens processed for ER and not detained by ERO or VR after June 1st, 2013 and not detained by ERO are primarily
processed by Border Patrol.

Starting in FY2009, ICE began to “lock” removal statistics at the end of each fiscal year and counted only the aliens whose removal
or return was already confirmed. Aliens removed or returned in that fiscal year but not confirmed until after the end of that fiscal
year were excluded from the locked data and thus from ICE statistics. To ensure an accurate and complete representation of all
removals and returns, ICE will include the removals and returns confirmed after the end of that fiscal year into the next fiscal year.
The number of removals in FY2009, excluding the "lag" from FY2008, was 387,790. The number of removals in FY2010, excluding
the "lag" from FY2009, was 373,440. This number does not include 76,732 expedited removal cases which ICE closed on behalf of
CBP in FY2010. Of those 76,732, 33,900 cases resulted from a joint CBP/ICE operation in Arizona. ICE spent $1,155,260 on those
33,900 cases. The number of removals in FY2011, excluding the "lag" from FY2010, was 385,145. The number of removals in
FY2012, excluding the "lag" from FY2011, was 402,919. The number of removals in FY2013, excluding the "lag" from FY2012,
was 363,144. The number of removals in FY2014, excluding the "lag" from FY2013, was 311,111. The number of removals in
FY2015, excluding the "lag" from FY2014, was 231,250. The number of removals in FY2016, excluding the "lag" from FY2015,
was 235,524. The number of removals in FY2017, excluding the “lag” from FY2016, was 220,649. The number of removals in
FY2018, excluding the “lag” from FY2017, was 252,405. The Number of removals in FY2019, excluding the "lag" from FY2018,
was 262,591. The number of removals in FY2020, excluding the “lag” from FY2019, was 177,516. The number of removals in
FY2021, excluding the “lag” from FY2020, was 55,355.

FY Data Lag/Case Closure Lag is defined as the physical removal of an alien occurring in a given month; however, the case is not
closed in EARM until a subsequent FY after the data is locked. Since the data from the previous FY is locked, the removal is
recorded in the month the case was closed and reported in the next FY Removals. This will result in a higher number of recorded
removals in an FY than actual departures.

All stats are pulled based on Current Program which attributes all cases back to the Program of the processing officer of the event.
However, if Current Program = OPL, XXX, ZZZ, or null, then Event Program is used.
Expedited removals include cases have one of the following case categories:
[8F] Expedited Removal [8G] Expedited Removal - Credible Fear Referral, [8H] Expedited Removal - Status Claim Referral, [8K]
Expedited Removal Terminated due to Credible Fear Finding / NTA Issued.
Month break out of Expedited Removals is based on fiscal month of departure.

ICE Initial Book Ins are matched to ICE Removal record based on person-level details (Person record) where the ICE Initial Book In
occur prior to the ICE Removal date. The ICE Initial Book In may not be directly related to the matched ICE Removal.




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